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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NEW YORK


  KAYLA REED, an individual,                      )     Case No. 2:17-CV-5713
                                                  )
         Plaintiff,                               )
                                                  )     Judge Arthur D. Spatt
  vs.                                             )
                                                  )
  1-800-FLOWERS.COM, INC.,                        )
                                                  )
         Defendant.                               )
                                                  )
                                                  )

           BRIEF IN OPPOSITION TO DEFENDANT’S MOTION TO DISMISS

        Plaintiff Kayla Reed (“Plaintiff”) respectfully submits this Memorandum of Law in

 Opposition to Defendant 1-800-FLOWERS.COM, INC.’s (“Defendant”) Motion to Dismiss

 Plaintiff’s Complaint (“Complaint” or “Compl.”). Defendant’s motion should be denied because

 the “first-filed” rule has no application in this case, and Defendant’s primary jurisdiction and due

 process arguments lack merit.

                                                                   Respectfully submitted,
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        I.      Statement of Facts

        Like most of her fellow citizens, Plaintiff Kayla Reed relies on the internet to shop for

 and purchase goods and services. (Compl. ¶ 16.) Unlike most Americans, Ms. Reed is blind,

 and utilizes screen reader technology to independently navigate and access information on the

 web. (Compl. ¶¶ 32, 35.) Readily existing technology exists to remove barriers that prevent

 individuals with disabilities from accessing the goods and services of places of public

 accommodation so that individuals with disabilities can enjoy the same degree of access as other

 customers. (Compl.¶ 17.) Many places of public accommodation have already taken steps to

 ensure that their websites are equally accessible to blind customers such as Ms. Reed. As

 detailed in the Complaint, Defendant has not.

        Defendant is a specialty florist and retailer who sells flowers and related goods and

 services throughout the United States, and is headquartered in New York. (Compl. ¶ 12.)

 Defendant maintains a commercial mobile app and website, www.1800flowers.com, which

 provides consumers with access to goods and services. (Id. ¶ 13.) The website and mobile app

 allow customers to browse products and product information, find store locations, and make

 online orders. (Id. ¶ 13.) Defendant programs its website to contain access barriers that prevent

 free and full use by blind consumers using screen reading software. (Id. ¶ 51.) Due to 1-800-

 Flower’s failure and refusal to remove access barriers from www.1800flowers.com, Plaintiff has

 been denied equal access to the numerous goods, services, and benefits offered to its sighted

 patrons. (Id. ¶ 47-48.)

 II.    Argument

        Defendant argues that the suit should be dismissed under the first-filed rule, the primary

 jurisdiction doctrine, and because it claims that the injunctive relief Plaintiff requests would

 violate due process. As discussed in greater detail below, these arguments should be rejected.


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 The first-filed rule does not apply because the separate lawsuits are not actually competing

 lawsuits, there are special circumstances that mitigate against the application of the rule in this

 case, and dismissal would not be the appropriate remedy. Additionally, the arguments related to

 primary jurisdiction and due process lack merit.

           A.     The First-filed Rule Does Not Apply Because the Two Cases Compared Are
                  Significantly Different, Special Circumstances Exist, and Dismissal is Not
                  Warranted
           The first-filed rule is a doctrine of justiciability which holds that in cases involving

 “essentially the same lawsuit involving the same parties and the same issues” the first suit has

 priority “absent the showing of balance of convenience in favor of the second action or unless

 there are special circumstances giving priority to the second.” Factors Etc., Inc. v. Pro Arts,

 Inc., 579 F.2d 215, 219 (2d Cir. 1978) (internal citations omitted). As Defendant acknowledges,

 the classic situation in which the doctrine applies is a case involving the same parties, who each

 sue each other in a separate forum, in which case the first filed suit would take priority. It is true

 that some courts have applied the first filed rule in cases involving different plaintiffs raising

 identical claims, but in these cases, the rule has been applied to transfer, not dismiss the new

 claims.

           This case does not involve mirror image suits, and to apply the doctrine in this case

 would stretch this important doctrine to the breaking point. Here, there is no separate suit

 involving Kayla Reed and 1-800 Flowers. There is a lawsuit in Massachusetts suit involving

 different plaintiffs, who visited different websites maintained by Defendant more than six

 months before Plaintiff encountered the barriers at issue in this suit. Additionally, unlike the

 instant case, the plaintiffs in the Massachusetts suit did not raise any state law claims or seek

 actual damages. The chart below details the pertinent differences between the cases:




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                                    Massachusetts Case                This Case

  Plaintiffs                        Lisa Gathers, Access Now,         Kayla Reed
                                    Inc., and R. David New

  Subject of suit                   www.1800flowers.com,              www.1800flowers.com
                                    www.napcoimports.com,             Mobile app
                                    www.thepopcornfactory.com,
                                    and www.cheryls.com

  Causes of action                  ADA Title III                     ADA Title III,
                                                                      California Unruh Act

  Time period in which barriers     Prior to Feb. 2017                August 2017
  were encountered

  Relief requested                  Injunctive relief                 Injunctive relief
                                                                      Statutory damages

  Status of case                    Motion to dismiss filed           Motion to dismiss filed

         Unlike the cases cited by Defendant, here resolution of either suit will not fully resolve

 the other, nor is there any risk of conflicting decisions. This suit involves a different time period,

 and due to the dynamic nature of ever-changing commercial websites, the plaintiffs in each case

 likely encountered different access barriers. Additionally, in this case, Plaintiff has asserted that

 the access barriers she encountered constitute a violation of state law, and that she is entitled to

 statutory damages on her supplemental state claims arising out of the same transaction or

 occurrence as her federal claim. Plaintiff has filed a motion to dismiss in the Massachusetts suit,

 and it is not clear that that case will be resolved on the merits. These special circumstances all

 mitigate against application of the first filed rule, because the goals of judicial efficiency and

 justice would not be met if this case were dismissed.

         In any event, assuming for the purposes of argument that the first filed rule applied,

 dismissal would not be the appropriate remedy. Plaintiff is entitled to her day in court on her


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 claim for injunctive relief and statutory damages, and dismissal of the lawsuit would both delay

 and deny her access to justice. In each case cited by Defendant applying the doctrine in

 situations that did not involve mirror-image litigation with identical parties, the court chose to

 transfer or stay litigation rather than dismiss the suit. Should this Court conclude that the first

 filed rule is appropriate in this case, the case should be promptly transferred to Massachusetts.

        B.      Defendant’s Primary Jurisdiction Arguments Lack Merit

        Defendant devotes five pages of its brief to the argument that the Court should dismiss

 the suit because it claims that new DOJ regulations on web access are imminent. Although DOJ

 did indeed announce its intention to develop such regulations back in 2010, Defendant fails to

 acknowledge that on July 21, 2017, the DOJ placed its proposed rules on the “Inactive Actions”

 list, leaving the question of web access for places of public accommodation solely in the

 jurisdiction of the courts. See U.S. Dept. of Justice Regulatory Action Inactive List, available at

 https://www.reginfo.gov/public/jsp/eAgenda/InactiveRINs_2017_Agenda_Update.pdf.

        Even if the DOJ were preparing to issue new rules, the primary jurisdiction rule should

 not apply in this case. “Primary jurisdiction applies where a claim is originally cognizable in the

 courts, but enforcement of the claim requires, or is materially aided by, the resolution of

 threshold issues, usually of a factual nature, which are placed within the special competence of

 the administrative body.” Golden Hill Paugussett Tribe of Indians v. Weicker, 39 F.3d 51, 58–59

 (2d Cir. 1994). It is a “prudential” doctrine that “applies to matters outside the conventional

 experiences of judges or those that fall within the realm of administrative discretion to

 administrative agencies with more specialized experience, expertise, and insight.” Belfiore v.

 Procter & Gamble Co., 311 F.R.D. 29, 74 (E.D.N.Y. 2015) (internal quotation marks and

 alteration omitted).



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        “The threshold issue in determining whether this doctrine applies is whether both the

 court and an agency have jurisdiction over the same issue.” Golden Hill, 39 F.3d at 59. The

 Court of Appeals for the Second Circuit has identified four relevant factors for determining

 whether this discretionary doctrine should be applied: (1) whether the question at issue is within

 the conventional experience of judges or whether it involves technical or policy considerations

 within the agency’s particular field of expertise; (2) whether the question at issue is particularly

 within the agency’s discretion; (3) whether there exists a substantial danger of inconsistent

 rulings; and (4) whether a prior application to the agency has been made. Ellis v. Tribune

 Television Co., 443 F.3d 71, 82–83 (2d Cir. 2006).

        “[T]he advantages of applying the doctrine against the potential costs resulting from

 complications and delay in the administrative proceedings” must be considered. Id. at 83

 (citation omitted). The doctrine only applies in a “relatively narrow” set of circumstances. Goya

 Foods, Inc. v. Tropicana Prods., Inc., 846 F.2d 848, 851 (2d Cir. 1988) (citation omitted)

 (“applied only when a lawsuit raises an issue, frequently the validity of a commercial rate or

 practice, committed by Congress in the first instance to an agency’s determination, particularly

 when the issue involves technical questions of fact uniquely within the expertise and experience

 of an agency”). Where the issue is “legal in nature and lies within the traditional realm of judicial

 competence,” courts have generally not applied the doctrine. Id.

        Here, the Ellis factors militate against application of the primary jurisdiction doctrine.

 Now that the DOJ has halted its rulemaking process, there is no risk of conflicting

 determinations. Even if there were such a risk, Plaintiff is entitled to a prompt adjudication of

 her claim. See Goya Foods, Inc., 846 F.2d at 853 (declining to apply the primary jurisdiction

 doctrine because the benefits of awaiting a decision from the agency was “outweighed by the

 litigants’ need for a prompt adjudication.”); Golden Hill, 39 F.3d at 60 (“There clearly is a public


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 interest in reasonably prompt adjudication.”). Invoking primary jurisdiction would not send the

 parties to the DOJ for prompt adjudication of her claim. The parties have no administrative

 remedies to pursue. Rather, the parties would be forced to wait for an administrative rulemaking

 process to conclude (a process that has been suspended). The parties are not direct participants in

 the DOJ rulemaking process. They have no ability to impact that process beyond the general

 public right to comment.

        Second, the matter of compliance with the ADA is not one that is uniquely within the

 jurisdiction of the DOJ. While the DOJ is responsible for issuing ADA regulations, courts routinely

 decide the extent to which accommodations are required under the ADA and when such

 accommodations constitute an undue burden. The doctrine of primary jurisdiction does not require

 that all claims that may fall within an agency’s purview must be decided by the agency. Tassy v.

 Brunswick Hosp. Center, Inc., 296 F.3d 65, 73 (2d Cir. 2002). “Simply because a matter falls

 within the [the agency’s] jurisdiction does not necessarily mean that the primary jurisdiction

 doctrine is applicable, however. As stated, the doctrine should not be applied mechanically or

 according to some rigid formula.” Global Crossing Bandwith, Inc. v. OLS, Inc., 2009 WL 763483,

 at * 3 (citing Ellis v. Tribune Television Co., 443 F.3d at 82 for the proposition that “primary

 jurisdiction analysis is on a case-by-case basis.”)

        The recent case from the Eastern District of New York is highly instructive for this

 discussion. In Andrews v. Blick Art Materials, No. 1:17-cv-00767-JBW-RLM (E.D.N.Y. Aug. 1,

 2017), the court recognized that despite being queried by members of Congress nearly two decades

 ago on the issue of whether website accessibility falls under the ADA, the DOJ had not yet

 promulgated rules related to this specific issue. Andrews v. Blick Art Materials at 16. The Andrews

 court further acknowledged that the DOJ issued an Advance Notice of Proposed Rulemaking

 (“ANPRM”) seven years ago but no rule or regulation emerged from the ANPRM. Andrews at 16.

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 In April 29, 2016, the DOJ withdrew the ANPRM and issued a Supplemental Advance Notice of

 Proposed Rulemaking (“SANPRM”), which only sought input on accessibility guidelines related to

 websites of entities covered by Title II of the ADA, but “it is unknown when a similar notice related

 to regulations concerning Title III entities will be issued.” Andrews at 16. On July 21, 2017, DOJ

 announced that the rulemaking effort was inactive.       U.S. Dept. of Justice Regulatory Action

 Inactive List, available at https://www.reginfo.gov/public/jsp/eAgenda/InactiveRINs_2017_

 Agenda_Update.pdf.

        Defendant also cites Andrews for the proposition that courts lack sufficient technical

 knowledge about website design and assistive technologies used by the blind. (Motion at 12.) In

 fact, the case illustrates the court’s proficiency in making such determinations. In Andrews the

 court scheduled a ‘Science Day’ hearing to feature testimony from expert witnesses to address its

 gaps in knowledge.”

        The Andrews court declined to apply the primary jurisdiction doctrine, holding that “[t]he

 court will not delay in adjudicating his claim on the off-chance the DOJ promptly issues regulations

 it has contemplated issuing for seven years but has yet to make significant progress on.” Id. at 17.

 See also Kayla Reed v. CVS Pharmacy, Inc., Case No. 2:17-cv-03877-MWF-SK, at *10. (C.D. Cal.

 Oct. 3, 2017) (Fitzgerald) (denying a motion to dismiss sought against ADA and California’s Unruh

 Civil Rights Act claims arising out of inaccessibility of a website and mobile app) (“A

 determination of liability does not necessarily require the Court to master complicated web

 standards, but rather asks the Court to make exactly the same sort of accessibility determinations

 that it regularly makes when evaluating the accessibility of physical locations. The primary

 jurisdiction doctrine is thus inapposite.”).)




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         Here, Defendant’s argument that the case must be dismissed under the primary jurisdiction

  doctrine pending the outcome of a rulemaking process that has been placed on hold should be

  rejected.

         C.      Defendant’s due process argument lacks merit

         In a related argument, Defendant further claims that it has no obligation to eliminate

  accessibility barriers unless and until the DOJ issues detailed regulatory guidance mandating a

  particular standard of compliance. However, as discussed below, since the ADA was passed in

  1990, places of public accommodation have been on notice of the statutory obligation to ensure

  people with disabilities enjoy equal access to goods and services. This statutory obligation is clear

  and enforceable, and due process does not require detailed guidelines for how such access is to be

  achieved.

         In considering and rejecting a similar argument in Andrews v. Blick, Judge Weinstein made

  the following observations:

         The defendant’s principal complaint appears to be that it wants there to be black-and white
         rules for ADA compliance, and here, there may be shades of gray. But the
         antidiscrimination provisions the defendant is accused of violating are not simple checklists
         of clearcut rules—they are standards that are meant to be applied contextually and flexibly.
         The ‘gray’ the defendant complains of is a feature of the Act.

  Andrews v. Blick Art Materials, LLC, No. 17-CV-767 (E.D.N.Y. 2017).

         Congress unequivocally intended that the ADA’s broad mandate for providing access to

  public accommodations apply to emerging technologies like websites. “[T]he Committee intends

  that the types of accommodation and services provided to individuals with disabilities, under all of

  the titles of this bill, should keep pace with the rapidly changing technology of the times.” Id. at

  108, reprinted in 1990 U.S.C.C.A.N. at 391 (cited in Nat'l Fed'n of the Blind v. Target Corp., 452

  F. Supp. 2d 946, 200-01 (N.D. Cal. 2006).) The legislative history of the definition of “public

  accommodation” shows that Congress wanted the list of 12 exemplars in the definition to be

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  “construed liberally” in harmony with the ADA’s broad remedial purpose of ensuring that people

  with disabilities can enjoy equal access to places of public accommodation. S. Rep. No. 101-116,

  59 (1990) (“[W]ithin each of these categories, the legislation only lists a few examples and then, in

  most cases, adds the phrase ‘other similar’ entities. The Committee intends that the ‘other similar’

  terminology should be construed liberally consistent with the intent of the legislation . . . .”); see

  also H.R. Rep. 101-485 (III) at 54, reprinted in 1990 U.S.C.C.A.N. at 477 (same). The law’s

  breadth is evident in Congress’s agreement with the Attorney General’s view that the definition

  “must bring Americans with disabilities into the mainstream of society ‘in other words, full

  participation in and access to all aspects of society.’” H.R. Rep. 101-485 (II) at 36, reprinted in

  1990 U.S.C.C.A.N. at 317 (internal citation omitted).

         The DOJ has consistently stated that the general accessibility mandate of the ADA applies

  to websites, irrespective of the rulemaking process:

         On July 26, 2010, the Department issued an Advanced Notice of Proposed Rulemaking
         (“ANPRM”) on Accessibility of Web Information and Services of State and Local
         Government Entities and Public Accommodations. The Department explained in the
         ANPRM that although the Department has been clear that the ADA applies to websites of
         public accommodations, inconsistent court decisions, differing standards for determining
         web accessibility, and repeated calls for Department action warranted further guidance.

         While the regulatory process may not have proceeded as quickly as Defendant expects, it
         is still very much ongoing. . . . The fact that []the regulatory process is not yet complete
         does not support any inference whatsoever that web-based services are not already
         covered by the ADA, or should not be covered by the ADA.

  (Statement of Interest of the United States, National Association of the Deaf v. Netflix, Inc.), at

  11-12 (emphasis added). See also New v. Lucky Brand Dungarees Stores, Inc., Statement of

  Interest of the United States, Case No. 14-CV-20574, at 7 (S.D. Fla.) (filed Apr. 10, 2014)

  (“[T]he Department has long considered websites to be covered by title III despite the fact that

  there are no specific technical requirements for websites currently in the regulations or ADA

  standards[.]”); Consent Decree, Nat’l Fed. of the Blind, et al., United States of America v. HRB

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  Digital LLC and HRB Tax Group, Inc., No. 1:13-cv-10799-GAO, ¶ 3 (D. Mass) (entered Mar.

  25, 2014). See also Statement of Interest of the United States, Juan Carlos Gil v. Winn-Dixie

  Stores, Inc., Civil Action No. 16-23020 (S.D. Fla.) (ECF #23) at 5 (“[T]he goods and services of

  a public accommodation provided via website are covered by the ADA.”)

         As the foundation for its due process claim, Defendant cites United States v. AMC

  Entertainment, Inc., 549 F. 3d 768 (9th Cir. 2008). (Motion at 19.) At issue in that case was

  ambiguity between the meaning of “lines of sight,” which resulted in conflicting positions between

  district courts in different circuits. The DOJ eventually took a position in the form of an amicus

  brief in Lara v. Cinemark USA, Inc. after district courts had taken respective positions. Lara v.

  Cinemark USA, Inc., 1998 WL 1048497, at *2 (W.D. Tex.Aug. 21, 1998), rev’d, 207 F.3d 783 (5th

  Cir. 2000). The DOJ then brought a lawsuit against AMC arguing AMC was required to retrofit

  theaters, including those built before the DOJ’s amicus brief in Lara, which the Ninth Circuit

  reversed on due process grounds. AMC Entertainment, Inc., 549 F. 3d. at 770. The AMC court

  found that as little as the filing of an amicus brief in separate litigation by the DOJ could provide

  adequate prospective notice of prohibited conduct. Id. at 770. The court also observed that, “[d]ue

  process requires that the government provide citizens and other actors with sufficient notice as to

  what behavior complies with the law.” Id. at 768. Not at issue were the theatres built after the

  Lara amicus brief.

         The distinction between AMC and 1-800 Flowers is that AMC did not have notice to satisfy

  due process for theaters built before the amicus brief, while 1-800 Flowers had notice of the

  ADA’s basic mandate that commercial websites must be accessible to the disabled, since as early

  as 1996. Judge Otero’s Domino’s ruling stated, “the Court concludes that little or no deference is

  owed to statements made by the DOJ through documents filed in the course of litigation with

  regulated entities.” (Order of 3/20/17 at 8; ECF #42.) That is wrong. In the published Ninth

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  Circuit decision, M.R. v. Dreyfus, the Ninth Circuit relied on the DOJ’s Statement of Interest in an

  ADA case (involving Title II) as entitled to deference and “respect” and compared the Statement

  of Interest “to an amicus brief because of its interest in ensuring a proper interpretation and

  application of the [ADA] mandate.” Dreyfus, 697 F.3d at 735. It added, “DOJ’s interpretation is

  not only reasonable; it also better effectuates the purpose of the ADA ‘to provide clear, strong,

  consistent, enforceable standards addressing discrimination against individuals with disabilities.’”

  Id. (citing 42 U.S.C. § 12101(b)(2)).

         More recently, Judge Walter in Hobby Lobby Stores, Inc., 2017 WL 2957736, Case No.

  2:17-cv-01131-JFW-SK (June 15, 2017) (ECF #47), at 4 n.2, in a similar web access case stated,

  “Congress delegated authority to promulgate regulations to implement Title III to the DOJ. 42

  U.S.C. § 12186(b). The DOJ also has authority to issue technical assistance for compliance with

  the ADA and to seek enforcement of its regulations in federal court. See 42 U.S.C. §§ 12186(b),

  12188(b), 12206. Accordingly, the DOJ’s interpretations of the ADA are entitled to substantial

  deference.” (citing Auer v. Robbins, 519 U.S. 452, 463 (1997); Chevron U.S.A., Inc. v. Natural

  Res. Def. Council, Inc., 467 U.S. 837, 844 (1984).) (emphasis added) The Hobby Lobby court also

  addressed this same AMC argument 1-800 Flowers advocates here:

         Defendant’s argument that AMC requires the Court dismiss this case is unpersuasive
         because AMC is factually and procedurally distinguishable. The court in AMC was
         reviewing whether a district court’s comprehensive remedial plan was appropriate,
         after the DOJ had prevailed on its motion for summary judgment. Id. at 762. The
         Court concludes the breadth and depth of analysis required at that stage of the
         proceedings is far different than the scope of review in this case because the Court
         cannot consider or weigh evidence at the motion to dismiss stage. E.g., Target, 452
         F. Supp. 2d at 965. In addition, in AMC, the DOJ had promulgated specific
         regulations that required theater owners to provide wheelchair bound patrons in
         facilities with stadium seating with “lines of sight comparable to those for members
         of the public” and those regulations were ambiguous. 549 F.3d at 763. However, in
         this case, the DOJ’s general website accessibility requirement is not ambiguous
         because the DOJ has not imposed any specific means by which entities must meet
         this requirement and facilities such as Hobby Lobby are free to decide how to
         comply with the ADA.

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  Hobby Lobby Order at 7. Other courts have reached the same conclusion. See e.g. Gil v.

  Winn-Dixie Stores, Inc., No. CV 16-23020-CIV, 2017 WL 2547242, at *9 (S.D. Fla. June

  12, 2017) (trial court decision finding inaccessible website violates the ADA following trial).

         Companies like 1-800 Flowers that operate websites or mobile apps for the public are free to

  decide how to comply with the ADA since the DOJ has not imposed any specific compliance

  means. But just because there is flexibility in figuring out how to comply with the statute, that is an

  entirely different question from whether compliance is mandated in the first place. Accordingly, for

  due process purposes, the notice is whether 1-800 Flowers knew it had to comply with the ADA

  and not whether it knows how it must comply with the ADA.

  D.     Plaintiff Has Stated A Claim For Relief Under The Unruh Act

         It is well settled that a violation of Title III of the ADA is also a violation of California’s

  state anti-discrimination law, the Unruh Act. Contrary to Defendant’s arguments, Plaintiff need

  not allege intentional discrimination to state a claim under Unruh Act claim. (Motion at 18)

         The intentional discrimination standard on which Defendant relies only applies if the Unruh

  Act claim is not premised on an ADA violation. See Munson v. Del Taco, Inc., 46 Cal. 4th 661, 678

  (2009) (holding that a plaintiff need not prove intentional discrimination to recover for an ADA

  violation under the Unruh Act). The Unruh Act provides that “[a] violation of the right of any

  individual under the federal Americans with Disabilities Act of 1990 [] shall also constitute a

  violation of this section.” Cal Civ. Code § 51(f). (emphasis added). Plaintiff’s Unruh Act claims

  specifically premised on the violation of rights under the ADA. (See Compl. ¶¶ 93, 101)

  (“Defendant is also violating the UCRA, Civil Code § 51 et seq. because the conduct alleged herein

  violates various provisions of the ADA, 42 U.S.C. § 12101 et seq.”) But even if a potential ADA

  claim on which Plaintiff’s Unruh Act is premised later becomes moot, the Unruh Act remedy for


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  damages still survives. See v. De La Cruz, 407 F. Supp. 2d 1126 at 1131 (C.D. Cal. 2005). Plaintiff

  also pled that “Defendant’s actions constitute intentional discrimination against Plaintiff on the

  basis of a disability … because Defendant has constructed a website [and mobile app] that are

  inaccessible to Plaintiff, Defendant maintains the website in an inaccessible form, and Defendant

  has failed to take actions to correct these barriers.” (See Compl. ¶¶ 92, 100.)

  III.   Conclusion

         Defendant’s motion to dismiss should be denied because the first-filed rule is inapplicable

  and Defendant’s primary jurisdiction and due process arguments lack merit.



  Dated: December 20, 2017                                         Respectfully submitted,
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on December 20, 2017, true and correct copies of Plaintiff’s

  Memorandum of Law in Opposition to Defendant’s Motion to Dismiss Plaintiff’s Complaint

  were served on all counsel of record via U.S. and electronic mail.

                                                               /s/ Javier L. Merino, Esq.
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